              IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF TEXAS
                       SHERMAN DIVISION


MOBILITY WORKX, LLC,

                   Plaintiff,
                                  Civil Action No.: 4:17-CV-00872-ALM
         v.

CELLCO PARTNERSHIP D/B/A
VERIZON WIRELESS,                 JURY TRIAL DEMANDED

                   Defendant.


                  VERIZON’S MOTIONS IN LIMINE
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MIL 1. Preclude references by Mobility to discovery disputes, including any suggestion
       that Verizon has not engaged in good-faith discovery, withheld, or failed to
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  1       Excerpts of the Rough Draft Deposition Transcript of Dr. Sukumaran Nair dated
          September 6, 2019 (“Nair Rough Tr.”)
  2       Excerpts of the June 20, 2019 Updated Expert Report by Dr. Sukumaran Nair
          (“Updated Nair Report”)
  3       Excerpts of Plaintiff’s Supplemental Responses to Defendant’s First Set of
          Requests for Admission Number 46 and Beyond to Plaintiff, dated June 14,
          2019 (“Supplemental RFA Responses”)
  4       Excerpts of the June 29, 2018 P.R. 3-1 Disclosure of Asserted Claims and
          Infringement Contentions for U.S. Patent No. 8,231,417 (“’417 Infringement
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  5       Excerpts of the June 29, 2018 P.R. 3-1 Disclosure of Asserted Claims and
          Infringement Contentions for U.S. Patent No. 7,231,330 (“’330 Infringement
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  6       Excerpts of Plaintiff’s Responses and Objections to Plaintiff’s [sic] First Set of
          Interrogatories to Defendant [sic], dated June 10, 2019 (“Mobility Response to
          Interrogatories”)
  7       Excerpts of the Rebuttal Expert Report of Dr. Sukumaran Nair Regarding the
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  16      Stragent, LLC v. Intel Corp., No. 6:11-cv-421-TBD-JDL (E.D. Tex. Feb. 27,
          2014)



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       Cellco Partnership d/b/a Verizon Wireless (“Verizon”) respectfully moves in limine as

follows.

MIL 1. Preclude references by Mobility to discovery disputes, including any suggestion that
       Verizon has not engaged in good-faith discovery, withheld, or failed to produce
       material to which Mobility claims to be entitled, and any reference to the assertion
       of objections or the assertion of privileges or confidentiality that occurred pre-trial
       or during discovery.

       The Court should preclude any reference to discovery disputes between Mobility and

Verizon. See, e.g., Genband US LLC v. Metaswitch Networks Corp., 2:14-cv-33-JRG-RSP, 2016

WL 12911530, at *4 (E.D. Tex. Sept. 30, 2015). For example, Mobility should not be permitted

to suggest that Verizon failed to comply with its discovery obligations, has not engaged in good-

faith discovery, or otherwise made evidence unavailable or inconvenient. In addition, Mobility

should not be permitted to reference pre-trial objections or assertions of privilege or

confidentiality. In particular, Mobility should not be permitted to blame any failure of proof on its

part on Verizon by insinuating that evidence exists but Verizon failed to comply with its discovery

obligations and is hiding such evidence from Mobility and from the jury.

       Any such allegations of withheld evidence are irrelevant to any issue properly triable to the

jury in this case. FED. R. EVID. 402. Moreover, any conceivable probative value would be

substantially outweighed by the danger of unfair prejudice, confusion of the issues, and wasting

time in this case, by distracting the jury from the merits and devolving into a side-show of the

parties’ discovery conduct. FED. R. EVID. 403. This is particularly true here where Mobility never

filed any motions to compel and declined to take the depositions of Verizon’s corporate

representative on numerous issues, including technical issues related to the ’417 Patent. Indeed,

Mobility’s technical expert, Dr. Suku Nair, testified in his deposition that he “could render [his]

opinion with the information [he] had” and that he “got everything that [he] needed” in order to

render his opinions. Ex. 1 (Nair Rough Tr.), at 12:16-13:9. This shows that any such complaint by


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Mobility would not only be prejudicial, but incorrect.

        To the extent Mobility had any concern regarding discovery conduct, such concerns should

have been timely raised in a motion addressed to the Court, and not the jury. This Court routinely

grants motions in limine precluding similar evidence. See, e.g., Elbit Sys. Land & C4I Ltd. v.

Hughes Network Sys., LLC, 2:15-cv-37-RWS-RSP, at *4 (E.D. Tex. July 25, 2017) (Ex. 8); Barry

v. Medtronic, 1:14-cv-104-RC, Dkt. 379, at *7 (E.D. Tex. Oct. 28, 2016) (Ex. 9); Ziilabs Inc. v.

Samsung Elecs. Co., 2:14-cv-203-JRG-RSP, 2015 U.S. Dist. LEXIS 191430, at *12 (E.D. Tex.

Oct. 28, 2015); Genband US, 2:14-cv-33-JRG-RSP, 2016 WL 12911530, at *8; Rembrandt

Wireless Techs., LP v. Samsung Elecs. Co., 2:13-cv-213-JRG-RSP, at *11 (E.D. Tex. Jan. 31,

2015) (Ex. 10).

MIL 2. Exclude evidence and arguments on conspiracy theories.

        Mobility has repeatedly espoused conspiracy theories in pleadings, expert reports, and

deposition testimony, including that the licensing negotiations between at least Mobility and

        were entered into pursuant to a “criminal conspiracy” between Mobility’s prior litigation

counsel, its prior patent brokers, and Alston & Bird LLP. See Dkt. 102, Ex. 5, 290:1-301:9 (Dr.

Hernandez testifying that he was “under suspicion that [Alston & Bird] was in cahoots with

        and [his] attorneys” and that he “collected evidence” and “sent all this information to the

FBI, including the communications between [his] counsel and [them]selves.”). In fact, Mobility

identified Verizon’s trial counsel—Michael Newton at Alston & Bird—in its list of witnesses for

trial. Obviously, these allegations are deeply troubling, outlandish, and reflect a disconnect with

the facts.

        Mobility should not be permitted to present testimony to the jury regarding or suggesting

the existence of a conspiracy involving Alston & Bird, its prior counsel, and/or its patent brokers.

Similarly, Mobility should not be permitted to present testimony to the jury regarding the


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competency or allegedly conflicting interests of its prior counsel and/or patent brokers. If Mobility

is not prevented from introducing such unsupported and potentially slanderous testimony, Verizon

may be forced to subpoena Mobility’s prior counsel (who reside in the Dallas area) to testify at

trial. Therefore, all evidence or arguments regarding conspiracy theories should be excluded.

MIL 3. Exclude arguments or expert testimony outside the context of the experts’ Rule 26
       reports, including new theories raised in Mobility’s MSJ briefing and proposed
       supplemental expert reports.

       Experts are limited to the express disclosure of their respective expert reports. Fed. R. Civ.

P. 26(a)(2)(B), 37(c)(1); see also Mobile Telecommc’ns Techs., LLC v. ZTE (USA) Inc., No. 2:12-

cv-00946, 2016 WL 8260584, at *3 (E.D. Tex. July 22, 2016). Mobility’s attorneys have

repeatedly demonstrated their willingness to make arguments that are far beyond the scope of their

expert reports.

       First, Mobility served “expert witness designations” that purport to designate Dr. Helal and

Dr. Hernandez, the principals of Mobility and inventors of the patents-in-suit, as experts on

practically every topic in the case, without serving an expert report on the same. This Court’s

Scheduling Order states that the parties are to provide “expert witness reports, to include for ALL

experts all information set out in Rule 26(2)(B).” Dkt. No. 88, 1. Mobility did not serve any expert

report from Dr. Helal, despite the fact that Mobility designated Dr. Helal to testify as an expert on

any “matters that may be necessary or appropriate to rebut any of Defendant’s defenses.” Dkt. No.

101, Ex. 1, 3. Mobility should therefore be prevented from presenting Dr. Helal as an expert

witness. Although Mobility did serve expert reports on behalf of Dr. Hernandez, they were limited

to damages issues. Therefore, Mobility should be prevented from providing testimony by Dr.

Hernandez on any issues other than damages, subject to Verizon’s Daubert motion regarding the

same. See Dkt. Nos. 101, 102. For the same reasons, any purported expert opinion or other expert

testimony from any expert witness not timely designated as an expert should be excluded.


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       Second, in opposition to Verizon’s summary judgment motion of non-infringement,

Mobility’s counsel asserted new infringement theories and interpretations that Mobility should be

prevented from presenting at trial. For example, Mobility asserted for the first time that the

theoretical possibility that the “S” value “represent[ing] the sum of individual cell and frequency

offsets” can be negative somehow demonstrates that a “ghost mobile node [is] capable of

registering with a foreign agent and allocating resources for the mobile node before the mobile

node arrives in the physical area covered by the foreign agent.” See Dkt. No. 118, 3-4, 10-21.

Mobility did not cite to any evidence that Verizon’s LTE network could in fact implement a

negative “S” value; rather, Mobility’s assertion is based purely on conjecture, a mistaken

understanding of Verizon’s expert’s drive test analysis, and a faulty simulation that assumes a

negative “S” value. See id.; Dkt. No. 125, 3-6. Further, Mobility asserted for the first time in its

opposition to Verizon’s motion for summary judgment that “fixedly located” does not require that

the entirety of the wireless network node be “set at a particular location.” Rather, Mobility argued

that the antenna of the wireless network node may rotate about the body of the wireless network

node. See Dkt. No. 118, 25-27. Dr. Nair failed to provide any analysis that any alleged wireless

network nodes are fixedly located. See Dkt. 95, Ex. 5, ¶¶ 94-129. Also in opposition to Verizon’s

summary judgment motion of non-infringement, Mobility filed expert “declarations” on behalf of

Dr. Nair. These 71- and 39-page declarations amount to supplemental expert reports on

infringement for which Mobility dd not seek leave to serve out of time. As such, Mobility should

be prevented from presenting any of their contents to the jury. Therefore, Mobility should be

prevented from presenting any expert testimony on these newly alleged theories.

       Finally, for the same reasons described above, Mobility should be precluded from

presenting lay or fact witnesses offering expert opinions, including whether an asserted prior art




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reference or accused product reads on the asserted claims, and what a reasonable royalty would be

under a hypothetical negotiation. Such testimony would not be appropriate as presented by a lay

witness under Rule 701 of the Federal Rules of Evidence and should therefore be excluded. FED.

R. EVID. 701. If Dr. Helal and Dr. Hernandez are excluded as experts, Mobility should not be

permitted to attempt to present its expert-witness case under the guise of lay testimony by Dr.

Helal and Dr. Hernandez.

MIL 4. Exclude any evidence, argument, or suggestion regarding the Court’s claim
       construction order other than the constructions themselves, including any reference
       to the parties’ positions, the Court’s rationale, and arguments inconsistent with the
       Court’s claim construction.

       Consistent with this Court’s practice, Mobility should be precluded from presenting

arguments or evidence that conflict with this Court’s claim construction or claim construction

order. See Core Wireless Licensing S.A.R.L. v. LG Elecs., Inc., No. 2:14-cv-911-JRG-RSP, 2016

WL 4374961, at *4 (E.D. Tex. Aug. 16, 2016). Two examples are illustrative but not exhaustive.

       First, the Court construed the term “wireless” as “without wires or cables, and only through

air or vacuum” as agreed by the parties. Dkt. No. 74 at 7 (emphasis added). But then, Mobility’s

technical expert, Dr. Nair, asserted that he “interpret[s] the Court’s definition of ‘wireless’ to mean

that the communication path that is ‘wireless’ must be without wires and through air, and not to

mean that there can be absolutely no wires or circuits anywhere in the accused system.” Ex. 2

(Updated Nair Report), at ¶ 114 (emphasis added). Having realized the damage that the agreed-to

construction inflicts on its infringement case, Mobility and Dr. Nair must be precluded from

presenting this new argument to the jury that a “wireless” connection can consist of a wire.1

       Second, in construing the term “foreign agent,” the Court specifically rejected Mobility’s


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  For the same reasons, Mobility should be precluded from offering constructions of “fixedly
located” inconsistent with the Court’s claim construction, as explained further in MIL 3.


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attempt to define the term based on having “a different network prefix” and requiring “a tunnel.”

See Dkt. No. 74 at 7-13. However, this is precisely the manner in which Dr. Nair analyzes this

term in his report. See Ex. 2 (Updated Nair Report), at ¶ 220-22; see also Dkt. No. 99, 6-7. Mobility

and Dr. Nair must be precluded from presenting this argument to the jury that was directly rejected

by the Court during claim construction.

MIL 5. Exclude any discussion of the size, total value, net worth, or total revenue of Verizon
       or its suppliers, any mention of the price of what end users pay for cell phone
       service, or the total amount paid to Verizon by its wireless subscribers.

       Mobility should be precluded from discussing the size, total value, net worth, number of

employees, or total revenue of Verizon or its suppliers, any mention of the price of what end users

pay for cell phone service, or the total amount paid to Verizon by its wireless subscribers, or similar

information. Such information is irrelevant and unfairly prejudicial. See FED. R. EVID. 402, 403.

Reference to total company revenue and similar financial information is unfairly prejudicial,

because it suggests that Verizon or its suppliers can afford to pay a larger damages award than

might otherwise be supported by the evidence. Such references would also risk violating the entire

market value rule, which prohibits using the entire market value of an accused product to establish

damages, absent a showing that the patented feature drives demand for the entire accused product.

Ericsson v. D-Link, 773 F.3d 1201, 1226 (Fed. Cir. 2014); LaserDynamics Inc. v. Quanta

Computer, Inc., 694 F.3d 51, 67-68 (Fed. Cir. 2012). Any opinion that Dr. Hernandez has asserted

alleging that the asserted patents drive consumer demand or the prices consumers pay for cell

phone services is improper and is subject to Verizon’s Daubert motion regarding the same (Dkt.

No. 102). Thus, overall revenue figures, whether at the company or end-user level, are legally

irrelevant and only risk to “skew the damages horizon for the jury,” and prejudice the jury towards

an inflated damages award. See Uniloc USA, Inc. v. Microsoft Corp., 632 F.3d 1292, 1320 (Fed.

Cir. 2011). For these reasons, this Court routinely precludes reference to total revenue and other


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similar financial information. See, e.g., Intellectual Ventures I LLC v. T-Mobile USA Inc., 2:17-

cv-577-JRG, at *5 (E.D. Tex. Jan. 8, 2019) (Ex. 11); Implicit, LLC v. Trend Micro, Inc., 6:16-cv-

80-JRG, at *6 (E.D. Tex. Oct. 3, 2017) (Ex. 12); Huawei Techs. Co. Ltd. v. T-Mobile US, Inc.,

2:16-cv-52-JRG-RSP, at *11 (E.D. Tex. Sept. 29, 2017) (Ex. 13); BMC Software, Inc. v.

ServiceNow, Inc., 2:14-cv-903-JRG, 2016 WL 379620, at *3 (E.D. Tex. Feb. 1, 2016); Imperium

IP Holdings (Cayman) v. Samsung Elecs. Co., et al., No. 4:14-CV-371, 2016 U.S. Dist. LEXIS

106535, at *4-5 (E.D. Tex. Feb. 1, 2016); SimpleAir, Inc. v. Google Inc., No. 2:14-cv-11-JRG, at

*4 (E.D. Tex. Oct. 6, 2015) (Ex. 14). Mobility should be similarly precluded.

MIL 6. Exclude evidence, argument, or suggestion of copying or theft by Verizon or any of
       Verizon’s vendors.

       Pursuant to FED. R. EVID. 402 and 403, the Court should exclude arguments, testimony, or

evidence stating, suggesting or referencing copying or theft by Verizon or any vendor. Mobility

never alleged copying or theft of the purported inventions of the asserted patents during discovery,

and has no evidence of copying or theft.

MIL 7. Exclude evidence, argument, or suggestion that any alleged conception date is
       earlier than July 31, 2002.

       The Court should exclude evidence, argument, and suggestion related to any alleged

conception date that is earlier than the one-year bar date for the patents because such information

is irrelevant, confuses the issues, and is unfairly prejudicial. See FED. R. EVID. 402, 403. The prior

art presented by Verizon is largely § 102(b) art or § 102(e) art. Mobility cannot antedate (or “swear

behind”) § 102(b) prior art from before July 31, 2002 as a matter of law. 35 U.S.C. § 102(b).

Certain § 102(e) art offered by Verizon, such as U.S. Patent Publication No. 2002/0131386 to

Gwon filed January 26, 2001, was indisputably filed months before Mobility’s earliest alleged

conception date. Thus, arguments, evidence, and suggestion of a conception date earlier than the

statutory one-year bar date (for § 102(b) art) but after the admitted filing dates of § 102(e) art is


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irrelevant to the issues to be decided by the jury in this case and can only be used to unfairly

confuse the jury into improperly questioning the prior art status of the art. FED. R. EVID. 402, 403.

MIL 8. Exclude evidence, argument, or suggestion regarding expert witnesses who are not
       called at trial, or expert analyses conducted by experts for parties not in this case.

       Mobility should be precluded from offering arguments, evidence, or suggestion against

Verizon regarding expert witnesses who are not called at trial. Although an expert witness may

properly rely on hearsay under Rule 703, “Rule 703 ‘was not intended to abolish the hearsay rule

and to allow a witness, under the guise of giving expert testimony, to in effect become the

mouthpiece of the witnesses on whose statements or opinions the expert purports to base his

opinion.” Factory Mut. Ins. Co. v. Alon USA L.P., 705 F.3d 518, 524 (5th Cir. 2013).

       Here, Dr. Hernandez, one of the inventors of the asserted patents and Mobility’s damages

expert, admitted during deposition that he used the expert report of Mr. Walter Bratic from another

case as a “baseline” for his expert report in this matter. In his deposition, Dr. Hernandez was unable

to explain the bases for many of his opinions. See, e.g., Dkt. No. 132, at 6 (“Q. Okay, so now eight

business days should actually be 20 business days. Is that your testimony? A. I would have to

revisit these numbers, honestly.”). Because Mr. Bratic is not going to testify in this case, Dr.

Hernandez cannot present evidence or opinions regarding Mr. Bratic’s opinions and analysis2

because it will constitute impermissible hearsay. Fosmire v. Progressive Max Ins. Co., 277 F.R.D.

625, 629 (W.D. Wash. 2011).

MIL 9. Exclude evidence, argument, or suggestion concerning the revenues or profits from
       products that are not accused products in this case.

       For reasons similar to those explained in MIL No. 5, neither party should introduce


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 Because Mobility refuses to produce the Bratic report to Verizon to allow for a determination of
which opinions are actually those of Mr. Bratic versus those of Dr. Hernandez, Dr. Hernandez
should not be permitted to present any damages theories. See generally Dkt. Nos. 102, 132-33.


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evidence, argument, or suggestion of revenues or profits from any non-accused products, because

such revenue information is irrelevant, confuses the issues, and is unfairly prejudicial. FED. R.

EVID. 402, 403. Mobility’s damages expert, Dr. Hernandez, improperly relies on revenue from un-

accused products in determining Mobility’s respective reasonable royalties, as further detailed in

Verizon’s Daubert motion regarding the same, Dkt. No. 102. Introducing such evidence risks the

jury using revenue information for un-accused products, including those with no conceivable

relationship to the asserted patents, to determine damages for the accused products, which invites

legal error.

MIL 10. Exclude discussion or introduction of exhibits not produced during discovery.

        Mobility should be precluded from presenting any discussion or introduction of exhibits

not produced during discovery, contrary to how Mobility served new evidence in response to

Verizon’s pleadings. See, e.g., Dkt. No. 125, 1-3; see also Dkt. No. 114, 1-3. Mobility was

obligated to produce relevant documents during discovery (see Dkt. No. 65, 4). Mobility should

not be allowed to introduce any such exhibits at trial as doing so would be in contravention of the

spirit and the letter of the Federal Rules, the Local Rules, and the Discovery Order in this case.

See Apple, Inc. v. Motorola Mobility, Inc., No. 11-cv-178-bbc, 2012 WL 5416941, at *17 (W.D.

Wis. Oct. 29, 2012).

MIL 11. No reference to the presumption of validity at trial.

        Courts routinely preclude parties from referring to a presumption of validity at trial and

prefer simply to explain the parties’ respective burdens of proof. Chiron Corp. v. Genentech, Inc.,

363 F.3d 1247, 1258-59 (Fed. Cir. 2004) (affirming district court decision not to instruct jury on

the presumption of validity); Polaris PowerLED Techs. LLC v. Samsung Elecs. Am., Inc., No.

2:17-cv-00715-JRG, at 9 (E.D. Tex. June 7, 2019) (Ex. 15) (“Any discussion of the appropriate

legal standard that goes beyond the Court’s prior instructions requires leave”). “[U]se of the


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phrase ‘presumption of validity’ would add little to the jury’s understanding of the burden of proof

on the validity issues,” and instead “might be confusing to the jury.” Erfindergemeinschaft

UroPep GbR v. Eli Lilly & Co., No. 2:15-cv-1202-WCB, 2017 WL 959592, at *4 (E.D. Tex. Mar.

13, 2017). This Court should thus bar references to the “presumption of validity” in accordance

with Rule 403.

MIL 12. No reference to indemnification.

       In ZiiLabs Inc., Ltd. v. Samsung Elecs. Corp., No. 2:14-cv-203-JRG-RSP, 2015 WL

13617214, at *14 (E.D. Tex. Oct. 28, 2015), the Court granted Defendants’ motion in limine

precluding all “argument, evidence, testimony, insinuation, reference, or assertion regarding any

defense or indemnification agreement(s)” between the manufacturer, Samsung, and the retailer

defendants. See also FED. R. EVID. 411. The same result should apply here: All evidence and

references to Verizon’s indemnification agreements is prejudicial and excludable per FRE 403 and

411. Courts generally “exclude evidence of indemnification out of a fear that it will encourage a

jury to inflate its damages award.” Williams v. McCarthy, No. 05-CV-10230 (SAS), 2007 WL

3125314, at *7 n.46 (S.D.N.Y. Oct. 25, 2007); see also Halladay v. Verschoor, 381 F.2d 100, 112

(8th Cir. 1967). It is well-settled that “[u]se of evidence of . . . an indemnification agreement to

establish that Defendants ‘acted . . . wrongfully’ runs afoul of Rule 411.” In re Gabapentin Patent

Litigation, No. 00-cv-2931 (FSH), 2011 WL 1807448, at *9 (D.N.J. May 12, 2011).

MIL 13. Exclude arguments that prior art does not qualify as prior art.

       Mobility failed to challenge the prior art status of Verizon’s prior art to the Asserted Patents

during discovery and should be prevented from presenting new evidence regarding prior art status

at trial. In response to Verizon’s requests for admission regarding the authenticity of certain pieces

of prior art, Mobility denied requests by stating that it had no relevant knowledge. Ex. 3

(Supplemental RFA Responses), at 11, 14. Mobility should not be allowed to introduce any


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arguments or evidence regarding the status of this prior art as doing so would be in contravention

of the spirit and letter of the Federal and Local Rules and the Scheduling Order in this case. See

Apple, Inc. v. Motorola Mobility, Inc., No. 11-cv-178-bbc, 2012 WL 5416941, at *17 (W.D. Wis.

Oct. 29, 2012).

MIL 14. Exclude characterization of the burden of proof for the “clear and convincing”
        standard.

        Mobility should be precluded from prejudicial characterizations of the burden of clear and

convincing evidence. For example, Mobility should be prohibited from referencing that the burden

of clear and convincing evidence is the same burden that is applied in child custody or mental

commitment proceedings, or using other analogies, such as calling it the “red zone.” See, e.g., Elbit

Sys., No. 2:15-cv-37-RWS-RSP, at 5 (precluding “argument concerning the burden of proof in a

different area of law, e.g. the burden of proof required to commit an individual to an institution,

revoke parental rights, or terminate life support” and “any analogy . . . during voir dire” of the

same); Stragent, LLC v. Intel Corp., No. 6:11-cv-421-TBD-JDL, at 2 (E.D. Tex. Feb. 27, 2014)

(Ex. 16). There is no need for such characterizations, given that the Court will instruct the jury as

to the meaning of the burden. As a result, these characterizations violate Rule 403 because their

probative value is substantially outweighed by the danger of unfair prejudice or misleading the

jury.

MIL 15. Exclude arguments/evidence regarding indirect infringement.

        For both asserted patents, Mobility’s infringement expert, Dr. Nair, introduced new

theories of indirect, induced infringement absent from Mobility’s infringement contentions. Dkt.

No. 99, 3-4. Indeed, Dr. Nair and Mobility’s entire theory of infringement as to the ’330 Patent

appears to be that Verizon induces infringement by manufacturers performing compliance tests.

Id. at 4. Mobility’s infringement contentions rely solely on direct infringement, and the



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introduction of new theories of inducement in the first instance in an expert report is impermissible.

ROY-G-BIV Corp. v. ABB, Ltd., 63 F. Supp. 3d 690, 699 (E.D. Tex. 2014). In addition, Dr. Nair

testified that he does not “know what [induced infringement] means” in his deposition. Ex. 1 (Nair

Rough Tr.), at 74:22-75:2. Mobility should thus be prevented from offering arguments or evidence

regarding indirect infringement. See also Dkt. No. 99.

MIL 16. Exclude arguments/evidence regarding doctrine of equivalents.

       For similar reasons as those explained in MIL 15, Mobility should be prevented from

offering arguments or evidence regarding any theories under the doctrine of equivalents. For the

’330 Patent, Dr. Nair relies on DOE theories in his report, whereas Mobility’s Complaint and

infringement contentions only asserted that Verizon literally infringes the Asserted Claims of the

’330 Patent. The infringement contentions’ sole contention with respect to the doctrine of

equivalents was a bare recitation of the “function-way-result” test and that “any differences are

insubstantial.” Dkt. No. 99, Ex. 5, 2. Because “boilerplate allegations . . . [in] infringement

contentions are insufficient” to preserve such arguments, Mobility should be precluded from

offering any arguments or evidence regarding the doctrine of equivalents. Sycamore IP Holdings

LLC v. AT&T Corp. et al., No. 2:16-CV-588-WCB, 2017 U.S. Dist. LEXIS 167297, at *13 (E.D.

Tex. Oct. 10, 2017).

MIL 17. Exclude arguments/evidence regarding Verizon’s “Can you hear me now?”
        advertisements.

       Mobility’s technical expert, Dr. Nair, opined that “[b]efore the ’330 Patented invention

came to be, a company like Verizon would have no choice but to test and design its mobile phones

through a time-consuming, difficult to reproduce, inaccurate, and expensive manual method, often

called a ‘Drive Test.’” Ex. 2 (Updated Nair Report), ¶ 68. Dr. Nair goes on to opine that “[i]n the

case of Verizon Network, Verizon ran the ‘Can you hear me now?’ commercial for over a decade,



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that symbolizes and interprets the true nature of ‘Drive Testing.’” Id., ¶ 69. In his deposition,

however, Dr. Nair testified that he had “no idea” when the ad campaign started, when it ended, or

whether the ads began before or after Verizon started using the accused system simulator. Ex. 1

(Nair Rough Tr.), at 177:13-24. As such, any arguments or evidence regarding these

advertisements should be excluded. FED. R. EVID. 403.

MIL 18. Exclude arguments/evidence/testimony regarding unaccused products and systems.

       Mobility has not accused Verizon’s 5G network in this matter, and as such, any statement

regarding whether the Asserted Patents purportedly cover such technology is unsupported and

would only risk jury confusion. As such, any arguments or evidence regarding the same should be

excluded. FED. R. EVID. 403. Mobility should be further precluded from introducing evidence or

arguments regarding products, systems, or manufacturers not contained in Mobility’s Infringement

Contentions, as explained further in Verizon’s Motion to Strike and Exclude Certain Portions of

the Expert Testimony of Sukumaran Nair, Ph.D., Dkt. No. 99. Specifically, for the ’417 Patent,

Mobility should be limited to introducing evidence and argument regarding the accused network

components, manufacturers, and handover procedures specifically accused in its Infringement

Contentions, including eNBs, MMEs, S-GWs, and UEs, and X2 and S1 handover procedures. Ex.

4 (’417 Infringement Contentions), at 5, 8, 50. As such, Mobility should be limited to introducing

evidence and argument regarding infrastructure equipment provided by Nokia. For the ’330 Patent,

Mobility should be limited to introducing evidence regarding the Spirent testing systems identified

in its Infringement Contentions. Ex. 5 (’330 Infringement Contentions), at 5. Evidence of any other

products, manufacturers, procedures, or systems should be excluded as untimely disclosed. See,

e.g., EON Corp. IP Holdings, LLC v. Sensus USA Inc., No. 6:09-cv-116, 2010 WL 346218, at *2

(E.D. Tex. Jan. 21, 2010); Opal Run LLC v. C & A Mktg., Inc., No. 2:16-CV-24-JRG-RSP, 2017

WL 3381344 (E.D. Tex. May 15, 2017).


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MIL 19. Exclude evidence, argument, or suggestion that commercial success, long-felt need,
        or other secondary considerations of non-obviousness have a nexus to asserted
        patents.

       For evidence of secondary considerations to be relevant to non-obviousness it must have a

nexus to the claimed inventions. Bosch Automotive Serv. Sols., LLC v. Matal, 878 F.3d 1027, 1037

(Fed. Cir. 2017). Mobility failed to identify any evidence supporting a nexus during fact and expert

discovery. Demaco Corp. v. F. Von Landroff Licensing Ltd., 851 F.2d 1387, 1392-93 (Fed. Cir.

1988). Mobility should not be permitted to identify a nexus for the first time at trial.

       Mobility provided a cursory response to an interrogatory seeking facts supporting

secondary considerations that did not identify any evidence of a nexus between any secondary

considerations and the claimed invention. Ex. 6 (Mobility Response to Interrogatories), 27-28.

Mobility never supplemented its interrogatory response and should not be permitted to provide

evidence or argument of a nexus to the jury that it failed to disclose in its discovery responses.

Such evidence, argument, or suggestion unfairly prejudices Verizon, who have no notice of such

evidence or argument. Fed. R Civ. P. 37(c).

       Mobility’s technical expert, Dr. Nair, also has failed to advance anything other than a

cursory allegation or evidence of the requisite nexus between any secondary considerations of non-

obviousness and the asserted patents in his report. See, e.g., Ex. 7 (Nair Rebuttal Report) at ¶¶ 64-

72, 451-457; Black v. Ce Soir Lingero Co., 2:06-cv-544, 2008 WL 3852722, at *12 (E.D. Tex.

Aug. 15, 2008); In re Antor Media Corp., 689 F.3d 1282, 1293-94 (Fed. Cir. 2012). Dr. Nair should

not be permitted to opine or otherwise suggest that there is a nexus at trial, as such testimony would

exceed the scope of his expert report, amounts to unfair surprise, and unfairly prejudices Verizon.

Fed. R. Civ. P. 26(a)(2)(B), 37(c).

                                          *       *       *

       Verizon respectfully requests that the Court grant its motions in limine as detailed above.


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Dated: September 10, 2019    Respectfully submitted,

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 Attorneys for Defendant Cellco Partnership,
 D/B/A Verizon Wireless




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                                CERTIFICATE OF SERVICE

       I certify that the foregoing document was served electronically on September 10, 2019, on

all counsel who have consented to electronic service.

                                                                     /s/ Ross R. Barton




                             CERTIFICATE OF CONFERENCE

       Pursuant to Eastern District of Texas Local Rule CV-7(h), I certify that counsel met and

conferred telephonically on September 9, 2019 in a good faith effort to resolve all issues regarding

Defendant Verizon’s Motions In Limine. On the September 9, 2019 meet-and-confer (which

included myself on behalf of Verizon and Michael Machat on behalf of Mobility), the parties were

unable to resolve their differences and an impasse was declared.

                                                                     /s/ Ross R. Barton
